        Case 1:24-cr-00542-AS         Document 438        Filed 07/02/25     Page 1 of 6




July 2, 2025

VIA EMAIL
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

        Mr. Combs should be released on bail today. For months, the government repeatedly
argued, and announced to the world, that Sean Combs was a monster who perpetrated a 20-year
federal crime spree through a racketeering enterprise. It devoted enormous resources to this
prosecution. Then, after almost a year in detention, Mr. Combs finally got his day in Court, and
the government’s allegations were tested before a jury of his peers. That jury heard the
government’s evidence, including testimony from his former girlfriends. By its verdict, the jury
resoundingly rejected the government’s depiction of Mr. Combs. The jury found him not guilty
of racketeering conspiracy and not guilty of sex trafficking. It convicted him only on two
prostitution counts, which were related to the transportation of adults—adults whom the jury
clearly found were consensual participants in the sexual activity. These offenses are of a far less
serious nature. Prostitution offenses are no longer even prosecuted as a matter of policy in the
Manhattan D.A.’s Office, and the same is true of Los Angeles and many other local district
attorney’s offices. It would be unjust to continue detaining Mr. Combs at the MDC even one day
longer, especially since—given the sentencing guidelines for these prostitution offenses—he
would otherwise be entitled to serve any additional time imposed at a lower-security facility.

        We write to respond to the government’s arguments opposing bail. See Dkt.433. First,
Mr. Combs was not convicted of a “crime of violence,” and the Court should therefore consider
his bail application under the standards outlined in 18 U.S.C. § 3143(a)(1), not 18 U.S.C.
§ 3143(a)(2). Second, the government overstates Mr. Combs’s sentencing exposure. And third,
to the extent Section 3143(a)(2) applies, the Court should release Mr. Combs on the proposed
conditions because there are “exceptional reasons why [his] detention would not be appropriate.”
18 U.S.C. § 3145(c).

   A. Mr. Combs Was Not Convicted Of A “Crime Of Violence”

       The government is incorrect to suggest that Mr. Combs was convicted of a “crime of
violence,” Dkt.433 at 5, as that provision includes only Chapter 117 offenses involving minors.
         Case 1:24-cr-00542-AS                Document 438            Filed 07/02/25          Page 2 of 6

                                                                                                               Page 2
Hon. Arun Subramanian
July 2, 2025

That is not this case. Thus, the standards in 18 U.S.C. § 3143(a)(1) apply to Mr. Combs’s bail
request, not those contained in 18 U.S.C. § 3143(a)(2).

        18 U.S.C. § 3156(a)(4)(C)’s definition of “crime of violence” was amended in 1998 to
include felony offenses under Chapter 117, but the amendment was not designed to capture all
offenses under Chapter 117. The amendment was effected through the “Protection Of Children
From Sexual Predators Act Of 1998,” PL 105–314 (HR 3494), and was specifically designed to
capture sexual crimes involving minors only. 1 This is clear from the House Judiciary
Committee’s report of the proposed amendment. When introduced, the section-by-section
analysis of the amendment identified its purpose as to “require pretrial detention for offenses
involving: (1) transportation of a minor for illegal sexual activity; (2) coercion or enticement of a
minor to engage in criminal sexual activity; or (3) transportation in interstate commerce with
intent to engage in criminal sexual activity with a minor.” H.R. REP. 105-557, 21, 1998
U.S.C.C.A.N. 678, 689 (emphasis added). As the Report made clear, the proposed amendment
to 18 U.S.C. § 3156(a)(4)(C) “would add these offenses to the list of offenses in which pretrial
detention is authorized.” Id. Congress did not intend a broader amendment. 2 Indeed, a
presumption of pre-trial detention arises in Mann Act case only where the “offense involv[es] a
minor victim under section … 2241.” 18 U.S.C. § 3142(e)(3)(E).

        18 U.S.C. § 3156(a)(4)(C)’s “crime of violence” language is accordingly limited
consistent with the House Judiciary Committee’s instruction, and the statute should be
interpreted “in light of the foregoing understanding of Congressional intent.” United States v.
Singleton, 182 F.3d 7, 13 (D.C. Cir. 1999). The Court should read the relevant “text in context,”
which makes clear that detention is not presumed where minors are not involved. United States
v. Pulsifer, 601 U.S. 124, 133 (2024). To the extent there is any ambiguity, the Court should
interpret the statute not to cover the Mann Act convictions here under “the rule of lenity,” which
“require[s] a narrow construction,” given the overbreadth and ambiguity in the statute. Id. at 13
n.12; see also, e.g., Yates v. United States, 574 U.S. 528, 547-48 (2015) (“[A]mbiguity
concerning the ambit of criminal statutes should be resolved in favor of lenity.”).

        Of course, Chapter 117 includes various offenses involving transportation for illegal
sexual activity and related crimes. But not all violations of Chapter 117 offenses involve minors,
and this is a case in point. For example, 18 U.S.C. § 2421(a) punishes “knowingly transport[ing]
any individual in interstate or foreign commerce … with intent that such individual engage in
prostitution, or in any sexual activity for which any person can be charged with a criminal
offense.” By its terms, such an offense can involve a minor, but the offenses of conviction do
not, and the government charged transportation to engage in prostitution only—nothing



1
 “The goal of the [Act] was to provide stronger protections for children from those who would prey upon them.”
United States v. Searcy, 418 F.3d 1193, 1198 (11th Cir. 2005) (emphasis added).
2
 This makes good sense in light of the other sections of 18 U.S.C. § 3156(a)(4), because sexual offenses against
minors necessarily involve “the use, attempted use, or threatened use of physical force against” the child, id.
§ 3156(a)(4)(A), and “a substantial risk that physical force against the [child] may be used,” id. § 3156(a)(4)(B).
        Case 1:24-cr-00542-AS         Document 438         Filed 07/02/25     Page 3 of 6

                                                                                             Page 3
Hon. Arun Subramanian
July 2, 2025

involving minors. Thus, the Court should not endorse the government’s overbroad interpretation
of “crime of violence” to conclude that 18 U.S.C. § 3143(a)(2) applies.

   B. The Government Overstates Mr. Combs’s Sentencing Exposure

        The government’s arguments about the Sentencing Guidelines also suffer from numerous
flaws. For example, the government is now claiming that Casandra Ventura and Jane were co-
conspirators and that Mr. Combs was a “manager or supervisors of one or more participants,
namely, Ms. Ventura and Jane.” Dkt.433 at 3. On this basis, it claims that three levels are added
to the guidelines calculation. But the government has always previously asserted that Ms.
Ventura and Jane were victims, not co-conspirators. Indeed, in the Mann Act counts the
indictment identifies them as victims. Count Three alleges that, “From 2009 to 2018,” Mr.
Combs “transported, aided and abetted, and willfully caused the transportation of multiple
individuals, including but not limited to Victim-1 and commercial sex workers, in interstate and
foreign commerce on multiple occasions with the intent that they engage in prostitution.”
Dkt.209 ¶18. Similarly, Count Five alleges that from 2021 to 2024 Mr. Combs “transported,
aided and abetted, and willfully caused the transportation of multiple individuals, including but
not limited to Victim-2 and commercial sex workers, in interstate and foreign commerce on
multiple occasions with the intent that they engage in prostitution. Id. ¶20. Consistent with this
theory, the government argued at trial that the transportation of Ms. Ventura and Jane was part of
the Mann Act violation and listed their travel in the summary charts. Accordingly, it should not
now be permitted to suddenly label them co-conspirators in order to suggest that an inapplicable
guidelines enhancement would increase his offense level.

        For similar reasons, the government’s new claim that seven escorts should be treated as
“victims” for grouping purposes (Dkt.433 at 3) fails. The government has never previously
suggested that any of the male escorts were victims. Indeed, in stark contrast to the measures the
government took to protect the identities of the alleged female victims, the government never
sought pseudonymity for any of the escorts. Instead, it introduced photos of them, elicited
testimony identifying them even when they were not called as witnesses, and released the photos
to the press. Therefore, it is inappropriate to deem these individuals “victims” for purposes of
the guidelines.

        The government’s argument that two points should be added for obstruction (Dkt.433 at
3), are equally meritless. First, the enhancement would not apply to either of the payment for the
Intercontinental Hotel video or Mr. Combs’s November 2024 calls with Jane. The enhancement
only applies “[i]f (1) the defendant willfully obstructed or impeded, or attempted to obstruct or
impede, the administration of justice with respect to the investigation, prosecution, or sentencing
of the instant offense of conviction, and (2) the obstructive conduct related to (A) the defendant’s
offense of conviction and any relevant conduct; or (B) a closely related offense, increase the
offense level by 2 levels. U.S.S.G. §3C1.1; see also Application Note 1 (enhancement applies
only if it “occurred with respect to the investigation, prosecution, or sentencing of the
defendant's instant offense of conviction”). Mr. Combs’s payment for the Intercontinental Video
of the domestic assault over nine years ago obviously did not occur with respect to the
“investigation, prosecution, or sentencing” in this case. As for the calls with Jane in November
         Case 1:24-cr-00542-AS               Document 438            Filed 07/02/25          Page 4 of 6

                                                                                                              Page 4
Hon. Arun Subramanian
July 2, 2025

2024, the government presented no evidence at the time of these calls that Mr. Combs was aware
of any law enforcement investigation. Instead, as the trial evidence showed, the calls were made
in the immediate wake of the Ventura lawsuit and months before Mr. Combs learned he was
under federal investigation.

        Second, even if the enhancement otherwise could apply, the two incidents were charged
as racketeering acts of bribery and obstruction as part of the RICO conspiracy, on which the jury
acquitted Mr. Combs.

    C. “Exceptional Reasons” Make Detention Inappropriate

        United States v. Lea itself holds that detention is not mandatory if there are “exceptional
circumstances,” as provided in 18 U.S.C. § 3145(c). It further holds that “[t]he test under
§3145(c) is necessarily a flexible one, and district courts have wide latitude to determine whether
a particular set of circumstances qualifies as ‘exceptional.’” 360 F.3d 401, 403 (2d Cir. 2006)
(citation omitted). “Exceptional circumstances exist where there is ‘a unique combination of
circumstances giving rise to situations that are out of the ordinary.’” Id.

         Exceptional circumstances exist here, including:

     •   Mr. Combs has 18-year-old twin daughters, as well as a 27-year-old son with no other
         living parent;
     •   Mr. Combs’s mother is 85 years old. She suffers from various health conditions. For
         example, she was hospitalized in July 2024 for a heart condition and had brain surgery
         the previous year. She lives near Mr. Combs in Florida and she would like him to be her
         primary caretaker.
     •   Mr. Combs also has a 3-year-old child who also needs her father.
     •   Mr. Combs has served almost 10 months in the MDC, with its notoriously problematic
         conditions, and under any view of the guidelines, he would qualify for a camp or low or
         minimum security prison, with far less onerous and restrictive conditions. 3

                                                      ****

       For the foregoing reasons the Court should release Mr. Combs on the proposed
conditions. See Dkt.432.




3
  Indeed, Judge Furman recently observed that conditions at the MDC “ha[ve] gotten to the point that it is routine for
judges in both this District and the Eastern District to give reduced sentences to defendants based on the conditions
of confinement in the MDC.” United States v. Chavez, 22-cr-00303-JMF (S.D.N.Y.), Dkt.31 at 2-3 (collecting
cases).
      Case 1:24-cr-00542-AS   Document 438   Filed 07/02/25       Page 5 of 6

                                                                                Page 5
Hon. Arun Subramanian
July 2, 2025

                                        Respectfully submitted,

                                        /s/Alexandra A.E. Shapiro
                                        Alexandra A.E. Shapiro
                                        Jason A. Driscoll
                                        SHAPIRO ARATO BACH LLP
                                        1140 Avenue of the Americas, 17th Fl.
                                        New York, NY 10036
                                        (212) 257-4880
                                        ashapiro@shapiroarato.com
                                        jdriscoll@shapiroarato.com

                                        Marc Agnifilo
                                        Teny Geragos
                                        AGNIFILO INTRATER
                                        445 Park Ave., 7th Fl.
                                        New York, NY 10022
                                        646-205-4350
                                        marc@agilawgroup.com
                                        teny@agilawgroup.com

                                        Anna Estevao
                                        HARRIS TRZASKOMA LLP
                                        156 West 56th St., Ste. 2004
                                        New York, NY 10019
                                        (212) 970-6465
                                        aestevao@harristrz.com

                                        Brian Steel
                                        THE STEEL LAW FIRM, P.C.
                                        1800 Peachtree Street, Ste. 300
                                        Atlanta, GA 30309
                                        (404) 605-0023

                                        Xavier R. Donaldson
                                        136 Madison Ave, 6th Floor
                                        New York, New York 10016
                                        646-772-3334
                                        Xdonaldson@aol.com

                                        Nicole Westmoreland, Esq.
                                        WESTMORELAND LAW, LLC
                                        132 Cone Street, Suite A
                                        Atlanta, GA 30303
                                        Tel: (404) 446-2620
      Case 1:24-cr-00542-AS   Document 438   Filed 07/02/25   Page 6 of 6

                                                                            Page 6
Hon. Arun Subramanian
July 2, 2025

                                        nw@westmorelandlawgroup.com
